                 CASE 0:12-cr-00295-PAM-AJB Doc. 25-1 Filed 01/09/13 Page 1 of 1



                                     UNITBD STATES DISTITICT COUITT
                                         DISTRICT OF MINNESOTA

                                                       I
                                                                                                                       l
         United States of America.                     I

                                                       I

                      V.                               I

                                                       I

         Julie Ann__Q*a!0pana ( ;cr r{rill i on        I     Docket No, 0864 0:12CIt00295-002
                                                       I
                Defendanl                              I
                                                       I



                           CONSENT TO MODIFY CONI}ITIONS OF RELNASB

      I, Julie Ann Campana fii:ncr*tir)n, have discussed rvith John P. Rayman, Supervising [J,S. Probation Offtcer.
      nrodifications of my releerse conditions as follorvs:

         .   The def'endant will subnrit to location monitoring/curl'ew ns directed by tJ. S. Probation and Pretrial
             Services and comply   rvith all of the program requirements. The defendant is restricted to her
             residence every day as clirectecl by the probation officer.



      I consent to this modification of my release conditions and agree to abide by this modification.

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                                            January 7,2013                                       January 7,2013
       rgnature o                           Date                                                 Dale




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